Case 16-01014-RAl\/| Doc 81-3 Filed 06/12/18 Page 1 of 5

BK Calendar

From: Ricardo Corona [rcorona@ooronapa.com]
Sent: Thursday, June 7, 2018 12:53 PM

To: ‘America A|varez'

Subject: FW: Larios lVlatter

Attachments: U.S. Brankruptcy Court Subpoena.pdf

From: Cocly German <Codv.German@csklegal.com>
Sent: Thursday, June 7, 2018 11:52 AlV|

To: rcorona@Coronapa.Com

Subject: Larios lVlatter

l\/l r. Coro na,

| am counsel for the landlord at this property who received your attached subpoena lVly client was out of town so we
apologize for the delay. Can you agree to provide me 2 weeks to obtain these docs?

P|ease contact me with any questions.

Cody

Cody German, Esq.

 

Cody.German@csklegal.com

Tel: 786-268-6415 | Fax: 305-373-2294

Cole, Scott & Kissane Building

9150 South Dadeland Bouievard, Suite 1400 l Miami, Florida 33156

LAW FlRMS
Hm@m

2033

 

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you for you !' cooperation

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA MIAMI
DIVISION
Www.fisb.uscourts.gov

 

IN RE: CASE NO.: l$»l$O§i~RAM
QUH\'T{N LARIOS Chapter 7
MARIA LARIOS,
Debtors.
/
WILLIAM GARAY, ADV. NO.: 16-01014~RAM
Piaintit`f,

VS.

QUYNTIN LARIOS AND MARIA LARIOS,

Det`endants.

/
()RDER GRANTING EMERGENCY MOTION TO COMPEL RESP()NSE TO

 

THIS MA"I"I`BR came before the Court upon Plaietiff ‘s Emergency Motion to Compel Response
to Sub;)oena and Motion to Continuo Triai With the Comt having reviewed the Motion, being advised

that the Parties consent to the relief requested therein, and having determined that good causes exists to

grant the Motion, it is

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ORDERED as follows:

l. The Motion is hereby GRANTED.
2. Non-party SOMA CORPORATION should respond to the subpoena by lime 2{), 2018,

objections Waived.

3. Discovery deadline is extended to luna 20,2018.

4. The trial is continued to ____

###

Sui:¢tnitted by:

Ricarclo Corona, Esq.
CORONA LAW FIRM. P.A.
389<) NW 7“' sireei, se 202
Miami, Florida 33126

Tel.: (3(}5) 547-1234

Copies to:
Ricardo Cot'ona, Esq.
Attomey Corona is hereby directed to furnished s conformed copy

hereof to all parties in interest immediately upon receipt

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BK Ca|endar

From: Cody German {Cody.German@osklega|.com]
Sent: Monday, June 11, 2018 6:24 PN|

To: America A|varez

Cc: Yvonne Orosa

Subject: Re: Larios N|atter

As I non party I don’t believe I have standing to take a position but I don’t object to the relief requested
Sincere|y,

Cody German

Cody German, Esq.

,._,_...,_ ..__,_ .k-,. ,,

 

Cody.German@csklegal.com
Tel: 786-268-6415 j Fax: 305“373-2294

Cole, Scott & Kissane Building
9150 South Dadelancl Boulevard, Suite 1400 [ Miami, Florida 33156

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Www.csklegal.com BEST

 

,_5,., LAW F|RMS
ninety

On Jun 11, 2018, at 6:12 PI\/t, America A|varez <aa|varez@coronaga.com> wrote:

tapo!ogize. | do not know Why they did not attach.

Amer:'ca Aiuarez, Esq.
CORONA LAW FIRNI, P.A.
3399 N.W. 7TH Street
Miami, FL 33126

Tet; (305)547-1234

Fax: (888)554-5607

Emai|: aalvarez@coronaga.com

From: Cody German [mai|to:Cody.German@csl<lega|.com]

Sent: Monday, June 11, 2018 6:04 PM
To: America Aiva rez

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the intended z'et:§pien..`r{§), please disisn'o) Ihizr n.'ir:§e:lj:;e, and eng att':il.‘.lu'ner\t$, and notify the sender toy iet=_)rn e~
mai]. Th:mh inn i`oi' your cuepern£ion.

~fOrder Granting Motion Compel, Extend & Continue.pdf>
~<Motion to Compel, Extend, Continue.pdf>

